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     In the United States Court of Federal Claims
                                   OFFICE OF SPECIAL MASTERS
                                           No. 19-561V
                                          UNPUBLISHED


    JULIE CROFTON,                                              Chief Special Master Corcoran

                         Petitioner,                            Filed: October 19, 2021
    v.
                                                                Special Processing Unit (SPU); Joint
    SECRETARY OF HEALTH AND                                     Stipulation on Damages; Influenza
    HUMAN SERVICES,                                             (Flu) Vaccine; Shoulder Injury
                                                                Related to Vaccine Administration
                         Respondent.                            (SIRVA)


Leah VaSahnja Durant, Law Offices of Leah V. Durant, PLLC, Washington, DC, for
Petitioner.

Lynn Christina Schlie, U.S. Department of Justice, Washington, DC, for Respondent.


                                DECISION ON JOINT STIPULATION 1

        On April 16, 2019, Julie Crofton filed a petition for compensation under the National
Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq. 2 (the “Vaccine
Act”). Petitioner alleges that she suffered a shoulder injury related to vaccine
administration (“SIRVA”) caused by an influenza (“flu”) vaccine administered on October
13, 2017. Petition at 1; Stipulation, filed at October 19, 2021, ¶¶ 1, 2, 4. Petitioner further
alleges that the vaccine was administered within the United States, that she experienced
the residual effects of her condition for more than six months, and that there has been no
prior award or settlement of a civil action for damages on her behalf as a result of her
injury. Petition at 1, 4; Stipulation at ¶¶ 3-5. Respondent denies that Petitioner sustained
a SIRVA Table injury following the flu vaccination and further denies that the flu vaccine
caused Petitioner to suffer a shoulder injury or any other injury or Petitioner’s current
condition. Stipulation at ¶ 6.
1
   Because this unpublished Decision contains a reasoned explanation for the action in this case, I am
required to post it on the United States Court of Federal Claims' website in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic
Government Services). This means the Decision will be available to anyone with access to the
internet. In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact
medical or other information, the disclosure of which would constitute an unwarranted invasion of privacy.
If, upon review, I agree that the identified material fits within this definition, I will redact such material from
public access.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all section references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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       Nevertheless, on October 19, 2021, the parties filed the attached joint stipulation,
stating that a decision should be entered awarding compensation. I find the stipulation
reasonable and adopt it as my decision awarding damages, on the terms set forth therein.

     Pursuant to the terms stated in the attached Stipulation, I award the following
compensation:

        A lump sum of $99,922.23 in the form of a check payable to Petitioner.
        Stipulation at ¶ 8. This amount represents compensation for all items of damages
        that would be available under Section 15(a). Id.

       I approve the requested amount for Petitioner’s compensation. In the absence of
a motion for review filed pursuant to RCFC Appendix B, the clerk of the court is directed
to enter judgment in accordance with this decision. 3

IT IS SO ORDERED.


                                         s/Brian H. Corcoran
                                         Brian H. Corcoran
                                         Chief Special Master




3
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.

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                           OFFICE OF SPECIAL '.\1ASTERS


.IULIF. CROFTON.

        Petitioner.                                      No. 19-561V
                                                         Chief Special Master Corcoran
        V.

SECRETARY OF HEAL TH AND
Hl IMAN SERVICl :S.

        Respondent.


                                          STIPl 'LATION

 The parties hereby stipulate to the follow111g matters .

             Petitioner. Julie Crofton. filed a petition for vaccine compensation under the

Nuuonul Vuccinc Injury Compcnsution Prog.rum. 42 U.S.C.          *300aa-l0 to 34 (the ··vaccine
Program··). The petition seeks compensation for 111_1urrcs alleged!~ related to petit1oner·s

receipt of the influenza r•flu .. ) vaccine. which vaccine 1s contained in the Vaccine Injury Table

tthe ·Table .. ). 42 CF R   *100.3 (a)
        2.   Petitioner received the flu vaccine on October 13.2017

        3. The vaccine was administered within the l Jnited States.

        4    The pet1t1on alleges that petitioner sustained a Shoulder Injury Related to Vaccine

Adm1111strat1on r·SIR VA .. ) as a result of receiv111g the flu vaccine. and that petitioner

experienced the residual effects of this injury for more than six months

        5    Petitioner represents that there has been no prior award or settlement of a civil

action for damages arising out of the alleged vaccine 111,iury

        6. Respondent dcmcs that petitioner sustained a SIRVA Table injury following the flu
                                                   -1-
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, m:cinauon. and further denies that the llu vaccine caused petitioner to suffer a shoulder inJUI")

or an~ other injul") or petitioner· s current cond1tmn.

        7. Mamtain111g their above-stated posit ions. the parties nevertheless no\\ agree that the

issues between them shall be settled and that a decision should be entered awarding the

compensat ion descnhed in paragraph 8 of this Stipulation.

        8. As soon as practicable alter an ent1: of judgment reflecting a decision consistent

with the terms orthis St ipulation. and after petitioner has filed an election to receive

compensation pursuant to 42 lJ SC        *300aa-2 I(a)( I). the Secrctaiy, of Health and Human
Serv ices will issue the following vaccine compensat ion payment:

        A lump sum of $99,922.23 in the form of a check payable to petitioner This
        amount represents compensation for all damages that would he available under 42
         ll S.C ~300aa-15(a) .

       9. As soon as practicable alter the entr: of judgment on entitlement in this case. and

alter petitioner has llled both a proper and timel y election to recei ve compensation pursuant to

42 l .S.C.   *300aa-2 I(a)( I). and an appl 1cat1on. the parties \\ ill submit to further proceed ings
before the spec ial master to award reasonable attorneys · tees and costs incurred      111   an~

proceeding upon this petition.

        10     Pet1t1oner and pct1tioner·s attorney represent that compensation to he provided

pursuant to this Stipulation 1s not for an) items or services for which the Program is not

primaril y Iiahle under 42 U S.C.    *300aa- I 5(g ). to the extent that payment has been made or
can reasonably he expected to be made under an) State compensation programs. insurance

policies. Federal or State health benefits programs (other than Title XIX of the Social Sccmity

Act (42 U.S.C     *1396 ct seq .)). orb~ entities that provide health services on a pre-paid basis.
and represent that they have identified to respondent al I known sources of payment for items or
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services for which the Program 1s not pnmanl~· liable under 42 l 1.S,C ~ 300aa- I 5(g).

               11. Payment made pursuant to paragraph 8 and any amounts awarded pursuant to

paragraph 9 of this Stipulation will he made in accordance with 42 l .S.C.           *300aa- I5( i).
subject to the availab1l ity of sufficient statutory funds .

               12. The parties and their attorneys further agree and stipulate that. except for any

award for attorneys· Ices and litigation costs. and past unreimbursablc expenses. the money

provided pursuant to this Stipulation will be used solcl~ for the benefit of petitioner as

contemplated by a strict construction of 42 LI S.C          *300aa- I 5(a) and (d ). and subject to the
conditions of42 lJ .S.C.     *300aa-15(g) and (h).
               13. In return for the payments descrihcd m paragraphs 8 and 9. petitioner. in

petitioner"s individual capacit~. and on hehalf of petit1oner"s heirs. executors. administrntors.

successors or assigns. docs forever irrevocably and unconditional!~, release. acquit and

discharge the l nited States and the Secretary of I lealth and Human Sen ices from any and all

actions or causes of action ( including agreements, _1udg.ments. cla11ns. damages. loss of

services. expenses and all demands of ,vhatever kind or nature) that have been brought. could

have been brought. or could he llmel . brought m the United States Court            or Federal Claims.
under the National Vaccine Injury Compensation Program. 42 U.S.C.               *300aa-l0 et seq .. on
account oC or in any way growing out ot: any and all known or unknown. suspected or

unsuspected personal 111juncs to or death of petitioner resulting from. or alleged to have

resulted from. the vaccination as alleged by petitioner in a petition for vaccmc compensation

filed on or about April 16. 20 I 9. in the United States Court of Federal Claims as petition No.

l ()-56 l V.

           14 . If petitioner should <lie prior to entry of judgment. this agreement shall be
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voidable upon proper notice to the Court on behalf of either or both of the parties

         15. If the special master fails to issue a decision in complete conformity with the

terms of this Stipulation or if the United States Court of Federal Claims fails to enter .1ud1m1ent~




in conformity with a decision that is in complete conformity with the terms of this Stipulation.

then the parties· settlement and this Stipulation shall be voidable at the -;ole discretion of either

party

         16. This St1pulat1on expresses a full and complete negotiated settlement of liability

and damages claimed under the National Childhood Vaccine lnjuiy Act of I 986. as amended.

except as otherwise noted 111 paragraph 9 abow. There 1s absolutely no agreement on the part

of the parties hereto to make an~ payment or to do an~ act or th111g other than is herein

expressly· stated and clearl~ agreed to. The parties further agree and understand that the award

described in this Stipulation ma~ reflect a compromise of the parties· respective positions as to

Iiabil ity and/or amount or damages. and further. that a change   111   the nature of the tnJlff)' or

condition or in the items of compensation sought. 1s not grounds to mod it~· or revise this

agreement

         17. This Stipulation shall not he construed as an admission by the United States or the

Secretaiy· of Health and Human Services that the llu vacctne caused pet1t1oner"s alleged injury

or an~ other injury or petitioner's current condition.

         18 . All rights and obligations of pct1t1oner hereunder shall apply equall~ to

petitioner"s heirs. executors. admm1strators. successors. and/or assigns

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  Respectfully submitted.

  PETITIONER:



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  FOR PETITIONER:                        OF THE ATTOR'\E\" GE'.\ERAL:



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  Al "'fHORIZED REPRESENTATl\'E          ATTOR~E\' OF RECORD FOR
  OF THE SECRETARY OF IIE \l.TII         RESPO'WE~T:
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